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               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                  ______________

                                    No. 23-3190

                            UNITED STATES OF AMERICA,

                                                     Plaintiff-Appellee,

                                          v.

                                DONALD J. TRUMP,

                                                     Defendant-Appellant
                                  ______________

                  GOVERNMENT’S UNOPPOSED MOTION
                   TO FILE SUPPLEMENTAL APPENDIX
                             ______________

      Pursuant to Fed. R. App. P 27(a) and D.C. Cir. R. 30(e), the United States

respectfully requests that the Court grant leave to file a Supplemental Appendix for

the United States in this case, which accompanies the Appellee Brief for the United

States. Counsel for defendant-appellant Donald J. Trump does not oppose this

motion for leave to file.

      Circuit Rule 30(e) provides: “If anything material to the appeal . . . is omitted

from the appendix, the clerk, on the duly served and filed written request of any

party, may allow the appendix to be supplemented.” Appellee’s Supplemental

Appendix contains documents referenced in the Government’s Appellee Brief that
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are not included in the Joint Appendix. These documents are material to the issues

on appeal and have been included for the Court’s convenience.

      WHEREFORE, the government respectfully requests that this Court grant

leave to file a Supplemental Appendix for the United States.


November 14, 2023                           Respectfully submitted,

                                            /s/ Cecil W. VanDevender
                                            CECIL W. VANDEVENDER
                                            Assistant Special Counsel
                                            U.S. Department of Justice
                                            950 Pennsylvania Ave., N.W.
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                                   ADDENDUM

                       Certificate of Parties and Amici Curiae

Pursuant to D.C. Circuit Rules 27(a)(4) and 28(a)(1)(A), the government identifies

the following parties, intervenors, and amici in this Court:

      Plaintiff-Appellee:
      United States of America

      Defendant-Appellant:
      Donald J. Trump
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                      CERTIFICATE OF COMPLIANCE

      1.      This document complies with the type-volume limitations of Federal

Rule of Appellate Procedure 27(d)(2)(A) because it contains 151 words.

      2.      This document complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type-style requirements of Federal

Rule of Appellate Procedure 32(a)(6) because it has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point type Times New

Roman font.


                                             /s/ Cecil W. VanDevender
                                             CECIL W. VANDEVENDER
